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Attorneys for Plaintiff and Plaintiff putative class

UNITED STATES DISTRICT COURT FOR THE
DISTRICT OF NEW JERSEY
---------------------------------------------------------------------x
ALLISON MARIE KYLE, as guardian ad litem
for her daughter E.K.L. who is suing as Plaintiff                      Case No. 2:15-cv-05193-ES-JAD
on behalf of herself and all others similarly situated,
                                                                       LOCAL COUNSEL
                  -against-                                            PRO HAC VICE
                                                                       CERTIFICATION
SELECTIVE SERVICE SYSTEM,
DIRECTOR OF SELECTIVE SERVICE,
         LAWRENCE G. ROMO, in his official capacity,

                                             Defendants.
----------------------------------------------------------------------x


        I, Michael J. Daher, certify that I am admitted to practice before the Courts of the State of

New Jersey and the United States District Court for the District of New Jersey. I am a member

in good standing of both bars, and I am not under suspension or disbarment by these courts or by

any other court or jurisdiction.

        I submit this Certification in support of the application by plaintiff Allison Marie Kyle, as

guardian ad litem for her daughter E.K.L., for the admission pro hac vice of Roy Den Hollander,




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Esq., Attorney at Law, 545 East 14 Street, 10D, New York, New York 10009, to appear in this

action as co-counsel for Plaintiff and Plaintiff putative class.

       Pursuant to Local Civil Rule 101.1, I understand that all pleadings, briefs, stipulations,

and other papers filed with the Court shall be signed by me. Further, I agree to promptly notify

the attorney admitted pro hac vice of the receipt of all notices, orders and pleadings.

       Pursuant to Local Civil Rule 101.1, I understand that I shall be held responsible for the

conduct of the case and shall be present before the Court during all phases of these proceedings,

unless expressly excused by the Court, as well as be held responsible for the conduct of the

attorney admitted pro hac vice.

       On behalf of Plaintiff and Plaintiff putative class, I respectfully request that the Court

grant this application to have Roy Den Hollander, Esq., admitted pro hac vice to appear and

participate in this matter pursuant to Local Civil Rule 101.1(c). I certify that the foregoing

statements made by me are true. I am aware that if any of the foregoing statements made by me

are willfully false, I am subject to punishment.

       An affidavit by attorney Roy Den Hollander in compliance with Civ Rule 101.1 is

included


Dated: July 7, 2015
       West Harrison, N.Y.

                                                               Respectfully submitted

                                                               /s/ Michael J. Daher
                                                               ________________________
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